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                   7   VELOCITY TECHNOLOGY
                       SOLUTIONS, INC.
                   8

                   9                                 UNITED STATES DISTRICT COURT

                  10                               EASTERN DISTRICT OF CALIFORNIA

                  11   GARRISON JONES,                                        Case No. 2:19-cv-02374-KJM-JDP

                  12                 Plaintiff,                               DECLARATION OF JENNIFER COLVIN
                                                                              IN SUPPORT OF DEFENDANT’S MOTION
                  13          v.                                              FOR SUMMARY JUDGMENT

                  14   VELOCITY TECHNOLOGY SOLUTIONS,                         [Filed Concurrently with Notice of Motion for
                       INC.; SHAUNA COLEMAN, individually                     Summary Judgment; Memorandum of Points and
                  15   and as H.R. Director of Velocity Technology            Authorities; Separate Statement of Undisputed
                       Solutions; CHRIS HELLER, individually and              Facts; Request for Judicial Notice]
                  16   as General Counsel of Velocity Technology
                       Solutions; STEVEN KLOEBLEN,                            DATE:     September 16, 2021
                  17   individually and as CEO of Velocity                    TIME:     10:00 AM
                       Technology Solutions; MICHAEL                          LOCATION: Courtroom 9, 13th Floor
                  18   BALDWIN, individually and as an employee                         501 I Street
                       of Velocity Technology Solutions.                                Sacramento, CA 95814
                  19
                                     Defendants.
                  20                                                          Complaint Filed: November 25, 2019
                                                                              Trial Date:       None Set
                  21                                                          Magistrate Judge: Hon. Jeremy D. Peterson
                                                                              District Judge:   Hon. Kimberly J. Mueller
                  22

                  23          I, Jennifer Colvin, hereby state and declare as follows:

                  24          1.     I am an attorney with the law firm Ogletree, Deakins, Nash, Smoak & Stewart, P.C.

                  25   I am providing this declaration based on personal knowledge. If called as a witness, I could and

                  26   would competently testify to the following statements.

                  27          2.     On August 16, 2018, I met in person with Garrison Jones in the Chicago office of

48083695_1.docx   28   Ogletree Deakins. The purpose of this meeting was for Mr. Jones to sign a settlement agreement

                                                                             1                      Case No. 2:19-cv-02374-KJM-JDP
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                   1   resolving the matter of Garrison Jones v. Velocity Technology Solutions, et al., Case No. 1:18-cv-
                   2   03288 in the United States District Court for the Northern District of Illinois.
                   3          3.      Prior to signing the settlement agreement, Mr. Jones asked to be shown the
                   4   settlement checks issued to him. After reviewing the settlement checks, Mr. Jones signed the
                   5   settlement agreement and accepted the settlement checks. Attached hereto as Exhibit 1 to my
                   6   declaration is a true and correct copy of the settlement agreement that I presented to Mr. Jones and
                   7   which he signed during our meeting, and which was subsequently counter-signed by a
                   8   representative of Velocity Technology Solutions.
                   9          I declare under the penalty of perjury under the laws of the United States and the State of
                  10   California that the foregoing statements are true and correct.
                  11          Executed this 12th day of August 2021 at Chicago, Illinois.
                  12

                  13                                                     By: ____________________________
                  14                                                              JENNIFER COLVIN
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                                     DECLARATION OF JENNIFER COLVIN IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
